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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   OCALA DIVISION

MITCHELL B. RATISHER,

        Plaintiff,

v.                                                             Case No: 5:20-cv-298-Oc-18PRL

COMMISSIONER OF SOCIAL
SECURITY,

        Defendant.


                                            ORDER
        This case is before the Court on the Commissioner’s motion to stay the case for ninety

days, or until the Social Security Agency (“SSA”) regains the capacity to produce the certified

transcript of the record necessary for this case. (Doc. 10). Due to the global COVID-19 crisis, the

SSA has taken certain steps to maximize social distancing, including suspending in-office services

to the public and moving rapidly toward a virtual work environment.

        As a result, the SSA’s Office of Appellate Operations (“OAO”) in Falls Church, Virginia

is unable to prepare the transcript of the record for this case. Many of the OAO’s employees are

teleworking and are unable to complete the critical in person physical tasks to produce the

transcript.

        The Commissioner’s motion recites that Plaintiff objects to the motion to stay. Plaintiff,

however, has not filed any written response to the motion setting forth objections and the time for

responding has expired. Accordingly, the Commissioner’s opposed motion to stay (Doc. 10) is

GRANTED. The Commissioner shall file an answer and the transcript of the record for this case

within 90 days.
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       DONE and ORDERED in Ocala, Florida on September 18, 2020.




Copies furnished to:

Counsel of Record
Unrepresented Parties




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